Case 1:23-cv-00237-MAC          Document 22        Filed 02/29/24     Page 1 of 12 PageID #: 130




  UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


 DAMMEION CLARK,                                  §
                                                  §
                 Plaintiff,                       §
                                                  §
 versus                                           §    CIVIL ACTION NO. 1:23-CV-237
                                                  §
 INTERNATIONAL PAPER COMPANY,                     §
                                                  §
                 Defendant.                       §

                                 MEMORANDUM AND ORDER

          Pending before the court is Defendant International Paper Company’s (“IPC”) Motion for

 Summary Judgment (#10). IPC contends that Dammeion Clark’s (“Clark”) negligence claim is

 barred by the applicable statute of limitations. Specifically, IPC contends that Clark’s claim is

 barred because she did not exercise reasonable diligence in effectuating service. Clark filed a

 response in opposition (#17), and IPC filed a reply (#18). Having considered the motion, the

 parties’ submissions, the pleadings, the record, and the applicable law, the court is of the opinion

 that IPC’s motion should be granted.

 I.       Background

          This lawsuit arises from an incident that occurred on or around January 26, 2021, at IPC’s

 Orange County facility. Clark’s employer contracted with IPC to perform maintenance on some

 of IPC’s equipment. Clark’s employer sent her to IPC’s facility to perform these duties, and,

 while she was working on IPC’s equipment, “a heavy metal object” fell from above her work area

 and “struck [her] on the head.” Clark sued IPC in Texas state court and asserted a cause of action

 for negligence. She filed suit on January 23, 2023, three days before the expiration of the
Case 1:23-cv-00237-MAC          Document 22        Filed 02/29/24       Page 2 of 12 PageID #: 131




 two-year statute of limitations.1 Clark, however, did not serve IPC within the two-year statute of

 limitations. In fact, Clark did not serve IPC until April 28, 2023—over three months after the

 limitations period had expired. IPC promptly answered and removed the action to this court. IPC

 now contends that Clark’s claim is barred by the two-year statute of limitations.

 II.    Analysis

        A.       Summary Judgment Standard

        Rule 56(a) of the Federal Rules of Civil Procedure provides that summary judgment shall

 be granted “if the movant shows that there is no genuine dispute as to any material fact and the

 movant is entitled to judgment as a matter of law.” FED. R. CIV. P. 56(a); Union Pac. R.R. Co.

 v. Palestine, 41 F.4th 696, 703 (5th Cir. 2022), cert. denied, 143 S. Ct. 579 (2023); United Steel,

 Paper & Forestry, Rubber Mfg., Energy, Allied Indus. & Serv. Workers Int’l Union v. Anderson,

 9 F.4th 328, 331 (5th Cir. 2021). The party seeking summary judgment bears the initial burden

 of informing the court of the basis for its motion and identifying those portions of the pleadings,

 depositions, answers to interrogatories, and admissions on file, together with the affidavits, if any,

 which it believes demonstrate the absence of a genuine issue of material fact. Celotex Corp. v.

 Catrett, 477 U.S. 317, 323 (1986); MDK Sociedad De Responsabilidad Limitada v. Proplant Inc.,

 25 F.4th 360, 368 (5th Cir. 2022); Goldring v. United States, 15 F.4th 639, 644-45 (5th Cir.

 2021). To warrant judgment in its favor, the movant “must establish beyond peradventure all of

 the essential elements of the claim or defense.” Lyons v. Katy Indep. Sch. Dist., 964 F.3d 298,

 302 (5th Cir. 2020) (quoting Dewan v. M-I, L.L.C., 858 F.3d 331, 334 (5th Cir. 2017)). At the

 summary judgment stage, the defendant “bears the burden of proving each element of each


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            TEX. CIV. PRAC. & REM. CODE § 16.003(a).

                                                   2
Case 1:23-cv-00237-MAC          Document 22        Filed 02/29/24      Page 3 of 12 PageID #: 132




 affirmative defense by a preponderance of the evidence.” Petro Harvester Operating Co., L.L.C.

 v. Keith, 954 F.3d 686, 697 (5th Cir. 2020) (citing Celotex Corp., 477 U.S. at 322-23).

        “A fact issue is ‘material’ if its resolution could affect the outcome of the action.”

 Hemphill v. State Farm Mut. Auto. Ins. Co., 805 F.3d 535, 538 (5th Cir. 2015) (quoting Burrell

 v. Dr. Pepper/Seven Up Bottling Grp., Inc., 482 F.3d 408, 411 (5th Cir. 2007)), cert. denied, 578

 U.S. 945 (2016); see MDK Sociedad De Responsabilidad Limitada, 25 F.4th at 368. Thus, a

 genuine dispute of material fact exists “if the evidence is such that a reasonable jury could return

 a verdict for the nonmoving party.” Hefren v. McDermott, Inc., 820 F.3d 767, 771 (5th Cir.

 2016); accord MDK Sociedad De Responsabilidad Limitada, 25 F.4th at 368; Sanchez Oil & Gas

 Corp. v. Crescent Drilling & Prod., Inc., 7 F.4th 301, 309 (5th Cir. 2021). The court “should

 review the record as a whole.” Black v. Pan Am. Lab’ys, LLC, 646 F.3d 254, 273 (5th Cir. 2011)

 (quoting Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000)); see Hacienda

 Recs., L.P. v. Ramos, 718 F. App’x 223, 234 (5th Cir. 2018). All the evidence must be construed

 in the light most favorable to the nonmoving party, and the court will not weigh the evidence or

 evaluate its credibility. Reeves, 530 U.S. at 150; Seigler v. Wal-Mart Stores Tex., L.L.C., 30

 F.4th 472, 476 (5th Cir. 2022); Batyukova v. Doege, 994 F.3d 717, 724 (5th Cir. 2021).

        B.      Statute of Limitations Under Texas Law

        In a diversity case arising under Texas law, federal courts apply Texas statutes of limitation

 along with any accompanying rules regarding accrual and tolling. See Ledford v. Keen, 9 F.4th

 335, 338 n.2 (5th Cir. 2021); Bloom v. Aftermath Pub. Adjusters, Inc., 902 F.3d 516, 517 (5th

 Cir. 2018) (citing Vaught v. Showa Denko K.K., 107 F.3d 1137, 1145 (5th Cir.), cert. denied,

 522 U.S. 817 (1997)), cert. denied, 139 S. Ct. 1178 (2019); Milton v. Stryker Corp., 551 F.


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Case 1:23-cv-00237-MAC           Document 22        Filed 02/29/24       Page 4 of 12 PageID #: 133




 App’x 125, 127 (5th Cir. 2014). In Texas, “[a] suit for personal injuries must be brought within

 two years from the time the cause of action accrues.” Proulx v. Wells, 235 S.W.3d 213, 215

 (Tex. 2007) (citing TEX. CIV. PRAC. & REM. CODE § 16.003(a)); Threet v. Elbert, No.

 09-22-00065-CV, 2023 WL 3114660, at *7 (Tex. App.—Beaumont Apr. 27, 2023, no pet. h.).

 Timely filing the lawsuit alone, however, does “not interrupt the running of limitations.” Proulx,

 235 S.W.3d at 215; Mauricio v. Castro, 287 S.W.3d 476, 479 (Tex. App.—Dallas 2009, no pet.).

 If a plaintiff does not serve within the limitations period, she must instead “exercise[ ] due

 diligence in the issuance and service of citation.” Proulx, 235 S.W.3d at 215 (citing Murray v.

 San Jacinto Agency, Inc., 800 S.W.2d 826, 830 (Tex. 1990)); English v. Record, No.

 01-20-00608-CV, 2021 WL 4095253, at *2 (Tex. App.—Houston [1st Dist.] Sept. 9, 2021, no

 pet.) (“To ‘bring suit’ within the applicable limitations period, a plaintiff must both file suit within

 the limitations period and use due diligence to serve the defendant with process.”); Mauricio, 287

 S.W.3d at 479. “If service is diligently effected after limitations has expired, the date of service

 will relate back to the date of filing.” Proulx, 235 S.W.3d at 215 (citing Gant v. DeLeon, 786

 S.W.2d 259, 260 (Tex. 1990)); Threet, 2023 WL 3114660, at *7; Mauricio, 287 S.W.3d at 479.

         If a defendant affirmatively pleads a limitations defense and demonstrates that service

 occurred after the limitations period expired, “the burden shifts to the plaintiff ‘to explain the

 delay.’” Proulx, 235 S.W.3d at 216 (quoting Murray, 800 S.W.2d at 830); Mauricio, 287

 S.W.3d at 479; see Threet, 2023 WL 3114660, at *7. “[I]f the plaintiff’s explanation for the delay

 raises a material fact issue concerning the diligence of service efforts, the burden shifts back to

 the defendant to conclusively show why, as a matter of law, the explanation is insufficient.”

 Proulx, 235 S.W.3d at 216 (citing Zale Corp. v. Rosenbaum, 520 S.W.2d 889, 891 (Tex. 1975));


                                                    4
Case 1:23-cv-00237-MAC         Document 22        Filed 02/29/24      Page 5 of 12 PageID #: 134




 Threet, 2023 WL 3114660, at *7. “[T]he relevant inquiry is whether the plaintiff acted as an

 ordinarily prudent person would have acted under the same or similar circumstances and was

 diligent up until the time the defendant was served.” Proulx, 235 S.W.3d at 216; Threet, 2023

 WL 3114660, at *7; English, 2021 WL 4095253, at *2; Mauricio, 287 S.W.3d at 479.

        The issue of whether a plaintiff exercised diligence when obtaining the issuance and

 effecting service of citation is ordinarily a fact question. Mauricio, 287 S.W.3d at 480; see

 Threet, 2023 WL 3114660, at *8; English, 2021 WL 4095253, at *3; see also Bass v. Greene,

 No. 6:19-CV-00541, 2020 WL 1880946, at *2 (E.D. Tex. Jan. 21, 2020). Nevertheless, “if no

 excuse is offered for a delay in procuring service of citation, or if the lapse of time and the

 plaintiff’s acts are such as conclusively negate diligence, a lack of diligence will be found as a

 matter of law.” Mauricio, 287 S.W.3d at 480 (citing Perry v. Kroger Stores, 741 S.W.2d 533,

 534 (Tex. App.—Dallas 1987, no writ)); see Proulx, 235 S.W.3d at 216 (“In some instances, the

 plaintiff’s explanation may be legally improper to raise the diligence issue and the defendant will

 bear no burden at all . . . . In others, the plaintiff’s explanation of its service efforts may

 demonstrate a lack of due diligence as a matter of law, as when one or more lapses between

 service efforts are unexplained or patently unreasonable.”); English, 2021 WL 4095253, at *3.

                1.     IPC Pleaded a Limitations Defense

        Here, IPC affirmatively pleaded the defense of limitations in its answer, and it has

 demonstrated that service did not occur until after the limitations period expired. In fact, Clark

 filed her original petition on January 23, 2023—only three days before the expiration of the

 two-year statute of limitations. Over ten weeks later—73 days, specifically—Clark requested a

 citation for service. Then, 22 days later, on April 28, 2023, Clark provided the citation and


                                                 5
Case 1:23-cv-00237-MAC             Document 22         Filed 02/29/24        Page 6 of 12 PageID #: 135




 original petition to a private process server, and IPC was served the same day. Accordingly, IPC

 has demonstrated that service occurred after the limitations period expired. As such, “the burden

 shifts to the plaintiff ‘to explain the delay.’” Proulx, 235 S.W.3d at 216; see Ashley v. Hawkins,

 293 S.W.3d 175, 179 (Tex. 2009).

                 2.       Clark’s Explanation of the Delay in Service

         To illustrate her diligence and explain the delay in service, Clark avers that her counsel

 relied on a “rotating” system to schedule the request for citation and, during that time, was also

 “presented with a number of pressing matters.” As Clark points out, her lead attorney is licensed

 to practice law in Louisiana and is not licensed in Texas.2 She asserts that, because of this, her

 counsel’s “usual docketing system” is based on Louisiana law, which requires that service be

 “requested” only within 90 days of filing the lawsuit.

         Once this lawsuit was filed, Clark’s lead counsel’s “computer docket system automatically

 calendared April 23, 2023, as the usual deadline to request service and citation,” per Louisiana

 law. In addition, after filing suit, Clark’s lead counsel “moved on to other pressing matters,” and

 did not “cycle[ ] back” to Clark’s case until April 6, 2023—a date that the “computer docket

 system” ostensibly scheduled. On that date, or just before, Clark’s lawyers conducted a “‘plan

 of attack’ meeting” that “resulted in the April 6, 2023[,] request for citation.” In his affidavit,

 Clark’s lead counsel emphasizes that “[b]etween January 23, 2023[,] and May 22, 2023, [his]

 docket was unusually filled.” He further avers that numerous motions and trial settings “impacted



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           Clark’s other lawyer, however, is licensed to practice law in Texas. Clark contends, nonetheless,
 that her Texas-licensed counsel’s “role . . . was to simply file the suit to preserve the action.” She further
 explains that her Louisiana-licensed counsel “has considerabl[y] more experience” and maintains the “role
 [of] lead counsel.”

                                                       6
Case 1:23-cv-00237-MAC           Document 22         Filed 02/29/24       Page 7 of 12 PageID #: 136




 [his] case rotation system”3—that is, he seems to suggest that these obligations delayed the “plan

 of attack” meeting.4

         In any event, “the foregoing evidence constitutes more than a scintilla of evidence raising

 a question of fact” with respect to whether Clark “acted as an ordinarily prudent person would

 have acted under the same or similar circumstances and was diligent up until the time [IPC] was

 served.” English, 2021 WL 4095253, at *3 (quoting Proulx, 235 S.W.3d at 217). As a result,

 the burden shifts back to IPC to demonstrate that Clark’s explanation is insufficient as a matter of

 law. Proulx, 235 S.W.3d at 216 (citing Zale Corp., 520 S.W.2d at 891); Threet, 2023 WL

 3114660, at *7.

                 3.      Clark’s Explanation is Insufficient as a Matter of Law

         IPC contends that Clark’s explanation is insufficient for a few reasons. IPC first asserts

 that ignorance of Texas law is no excuse for a lack of diligence. Next, although it concedes that

 reliance on a docketing system may explain a short delay in diligence, IPC argues that Clark’s

 extended reliance on such a system is not a “‘reasonable explanation’ for the seventy-day lapse

 between filing the petition and service.” Finally, IPC avers that Clark “offers no excuse as to why

 her local, Texas-licensed counsel was unable to effect service timely.”




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           Specifically, Clark’s lead attorney explains that he was “tasked with two (2) Motions for
 Summary Judgment and three (3) jury trials.” He further explains that one case in particular “involved
 six (6) motions, which were filed from March 17, 2023, through May 22, 2023 (the date of trial).”
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           This assertion stands in tension with another portion of Clark’s response, which seems to claim
 that the docketing system, because it was based on Louisiana law, automatically calendared a date by
 which to request the citation for service and conduct the “plan of attack” meeting.

                                                    7
Case 1:23-cv-00237-MAC         Document 22        Filed 02/29/24      Page 8 of 12 PageID #: 137




                       a.      Reliance on Louisiana Law

        Regarding Clark’s counsel’s reliance on Louisiana law, IPC correctly points out that

 ignorance of the law is not an excuse for a lack of diligence in effectuating service. Indeed, just

 as with “counsel’s mistakes and oversights,” Frozen Food Exp. Indus., Inc. v. Grippe, No.

 05-99-00018-CV, 1999 WL 1140074, at *3 (Tex. App.—Dallas Dec. 14, 1999, pet. denied)

 (citing Webster v. Thomas, 5 S.W.3d 287, 291 (Tex. App.—Houston [14th Dist.] 1999, no pet.)),

 “ignorance of the law does not excuse a lack of due diligence.”            Martin v. Stone, No.

 02-22-00346-CV, 2023 WL 5282408, at *4 n.8 (Tex. App.—Fort Worth Aug. 17, 2023, pet.

 filed) (citing Weaver v. E-Z Mart Stores, Inc., 942 S.W.2d 167, 169 (Tex. App.—Texarkana

 1997, no writ) (“An excuse of diligence must involve diligence to seek service of process.

 Ignorance of the law or reliance upon one’s own attorney does not constitute such an excuse.”));

 see Emerton v. Kroger Co., No. 3:14-CV-3334-D, 2015 WL 731250, at *3 (N.D. Tex. Feb. 20,

 2015) (“[T]he acts of one’s attorney are imputed to the client.”). Thus, to the extent that Clark’s

 counsel contends that he was unclear as to Texas’s demands regarding diligent service, such an

 excuse equates to no explanation at all. The same can be said for her lead counsel’s docketing

 system. In that vein, Clark’s response clarifies that her “[lead] counsel’s docketing system was

 based upon a jurisdiction (Louisiana) that requires . . . service be requested within 90 days.”

 Accordingly, reliance on this system must weigh against diligence to the extent that the docketing

 system was based on another state’s law, rather than the law of the forum state.

                       b.      Clark’s Lead Counsel’s Docketing System

        While the configuration of this “docketing system” is not entirely clear from Clark’s

 response and her counsel’s affidavit, the submissions indicate that the system is not only based on


                                                 8
Case 1:23-cv-00237-MAC          Document 22       Filed 02/29/24      Page 9 of 12 PageID #: 138




 Louisiana law but was also “impacted” by other pressing matters. Clark relies on English v.

 Record to contend that her lead counsel’s actions constitute the exercise of due diligence in

 effectuating service. 2021 WL 4095253, at *2. English filed suit on the last day of the limitations

 period but did not serve the defendant until nearly eight months after the petition was filed. Id.

 at *1. The defendant moved for summary judgment based on a limitations defense, and the trial

 court granted the motion. Id. English appealed, arguing that she had “presented sufficient

 evidence to raise a fact issue on diligence of service.” Id. English’s counsel clearly exercised

 diligence through much of the eight-month period (including numerous attempts to locate and serve

 the defendant); however, the “timeline of events . . . contain[ed] some gaps.” Id. at *4. One of

 these gaps, a three-week delay between the petition’s filing and counsel’s request for citation, is

 particularly relevant to the case at bar. To explain this delay, English’s counsel asserted that the

 three-week delay was due to his being “occupied with other work.” Id. “He stated that he

 worked his active cases on a ‘rotating’ system,” meaning that “[o]nce he ensured that the suit was

 filed within the limitations period, he rotated to working on other ‘pressing matters’ before he

 turned again to English’s case.” Id. Although the defendant argued that “it was ‘clearly

 unreasonable’ for counsel to delay requesting citation for three weeks” and rely on his “rotating”

 system, the court of appeals disagreed and held that the explanation raised a fact question. Id.

 Specifically, the court determined that “[g]iven the length of the delay,” it was unable to “say, as

 a matter of law, whether it was unreasonable for counsel to work on other ‘pressing matters’ for

 three weeks before requesting citation in English’s case.” Id. Clark argues that, just as in

 English, her delay in serving IPC “was not due to a lack of diligence, but due to counsel’s

 docketing system and existing docket.”


                                                  9
Case 1:23-cv-00237-MAC          Document 22        Filed 02/29/24      Page 10 of 12 PageID #: 139




         IPC contends that Clark’s reliance on English is “misguided” because the case at bar “is

  clearly distinguishable.” It notes that, “unlike . . . English[’s] attorney, Clark’s counsel did not

  have a ‘short duration of delay’ between filing and requesting citation; rather seventy days passed

  after the statute of limitations expired and before Clark requested citation”—“fifty days more than

  it took . . . English[’s] attorney.” To be sure, the relatively short duration of the delay was vital

  to the court’s analysis in English. See id. After observing that English’s attorney “emphasize[d]

  that [the] explanation of his ‘rotation system is a reasonable explanation only in light of the short

  duration of the delay,’” the court held that “[g]iven the length of the delay, we cannot say, as a

  matter of law, whether it was unreasonable for counsel to work on other ‘pressing matters’ for

  three weeks before requesting citation in English’s case.” Id. As IPC points out, the delay at

  issue here is much longer than the delay at issue in English. While a 22-day delay may be

  reasonably explained by a docketing system, the same cannot be said for a 73-day delay. See id.

  As such, this case is plainly distinguishable from English. Thus, in light of the relatively long

  delay at issue here, Clark’s counsel’s prolonged reliance on his docketing system was

  unreasonable. See id.

         Clark concedes that the “lapse in the case at bar was longer” than that at issue in English.

  To justify her extended delay, however, Clark emphasizes that her “counsel’s docketing system

  was based upon a jurisdiction (Louisiana) that requires that service be requested within 90 days.”

  As discussed above, however, “ignorance of the law does not excuse a lack of due diligence.”

  Martin, 2023 WL 5282408, at *4 n.8. Therefore, the fact that the docketing system was based

  on Louisiana law makes Clark’s counsel’s reliance on it even less reasonable. Furthermore, her

  counsel’s preoccupation with other cases cannot alone constitute a reasonable explanation for the


                                                   10
Case 1:23-cv-00237-MAC            Document 22          Filed 02/29/24       Page 11 of 12 PageID #: 140




  delay in this case. See Burke v. Home Depot Store #6828, No. 4:16-CV-03620, 2018 WL

  2321956, at *7 (S.D. Tex. Jan. 31, 2018). Thus, due to the significant delay from the date of

  filing to Clark’s request for citation and the docketing system’s dependence on Louisiana law,

  Clark’s counsel’s reliance on this docketing system was unreasonable as a matter of law.5 See

  Sanderson, 2003 WL 1564314, at *2 (“Lack of diligence can be found even in the face of an

  offered explanation if that explanation affirmatively establishes lack of reasonable diligence.”).

                          c.       Issues That Clark Fails to Explain

          Absent from Clark’s response are any explanations regarding Clark’s Texas-based

  counsel’s inaction during the time at issue or the 22-day delay between the date her counsel

  requested the citation and the day counsel provided the citation and original petition to a private

  process server. With respect to her Texas-based counsel’s actions, IPC points out that “Clark

  offers no explanation as to why her local, Texas-licensed counsel was unable to, or otherwise did

  not handle, service of citation.” Indeed, on this point Clark states only that her Louisiana-licensed

  counsel “has considerabl[y] more experience” than her Texas-licensed counsel, which is a plainly

  insufficient explanation. In fact, years of trial experience are not necessary for an attorney to

  perform the relatively simple task of requesting citation and arranging for service on a corporation



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            Although a number of cases finding a lack of diligence as a matter of law involve periods of
  unexplained activity in excess of five months, courts have nonetheless determined that such a lack of
  diligence exists in cases involving shorter delays. See Webster, 5 S.W.3d at 291 (delay of four months
  and ten days); see also Sanderson v. Vela, No. 05-02-01157-CV, 2003 WL 1564314, at *2 (Tex.
  App.—Dallas Mar. 27, 2003, no pet.) (“Even a three month unexplained delay can constitute a lack of due
  diligence.”); Boyattia v. Hinojosa, 18 S.W.3d 729, 734 (Tex. App.—Dallas 2000, pet. denied) (three-
  month delay). The exercise of diligence, or the lack thereof, is the focus of the court’s analysis, rather
  than the length of delay alone. Holt v. D’Hanis State Bank, 993 S.W.2d 237, 241 (Tex. App.—San
  Antonio 1999, no pet.); see Proulx, 235 S.W.3d at 216 (“[T]he plaintiff’s explanation of its service efforts
  may demonstrate a lack of due diligence as a matter of law, as when one or more lapses between service
  efforts are unexplained or patently unreasonable.”).

                                                      11
Case 1:23-cv-00237-MAC           Document 22        Filed 02/29/24      Page 12 of 12 PageID #: 141




  based in the United States that has a registered agent for service of process. Thus, in failing to

  explain her Texas-based counsel’s inaction, Clark overlooks her burden to “explain every lapse

  in effort or period of delay.” Proulx, 235 S.W.3d at 216. The same is true for the 22 days after

  Clark’s counsel’s request for citation and prior to service. Aside from her lead counsel’s assertion

  in his affidavit that he was busy handling other matters, which constitutes no explanation on its

  own, Clark fails to provide any explanation for this additional lapse in effort. Id.; see Burke, 2018

  WL 2321956, at *7. Indeed, this would have been the perfect opportunity for lead counsel to turn

  to Texas-based counsel, the sole counsel of record in Texas state court, for assistance in carrying

  out the primarily clerical functions entailed in obtaining the issuance of citation and effectuating

  service of process, which dovetails with his role of filing suit in Texas. Yet, counsel did not do

  so. Thus, even setting aside the earlier 73-day delay, unexplained periods of inaction still remain.

  Accordingly, IPC has shown that the explanations provided by Clark are insufficient as a matter

  of law to excuse such dilatory service of process. See Proulx, 235 S.W.3d at 216.

  III.   Conclusion

         In sum, for the foregoing reasons, Clark has failed as a matter of law to exercise due

  diligence after this suit was filed. Consequently, the limitations period was not tolled, and her suit

  is time-barred. Thus, IPC’s Motion for Summary Judgment (#10) is GRANTED. The Court will

  issue a separate Order of Dismissal.

          SIGNED at Beaumont, Texas, this 29th day of February, 2024.




                                              ________________________________________
                                                          MARCIA A. CRONE
                                                   UNITED STATES DISTRICT JUDGE

                                                   12
